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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT TACOMA

 8
        MAHSA PARVIZ,
 9                                                           CASE NO. 2:23-CV-1407-JHC
                               Petitioner,
                 v.
10                                                           ORDER
        H. BARRON and C. PETERS,
11
                               Respondents.
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13
            Before the Court is Petitioner’s “Ex Parte Emergency Motion for Release Pending
14
     Appeal Pursuant to FRAP 23 and LR 7(d)(1).” Dkt. # 76. The Court has reviewed the motion,
15
     the balance of the case file, and the governing law. Being fully advised, the Court rules as
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     follows:
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            The motion cites no legal authority that supports Petitioner’s request; nor is the Court
18
     aware of any such authority. Accordingly, the Court DENIES the motion.
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            DATED this 12th day of September, 2024.
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21                                                        __________________________________
                                                          JOHN H. CHUN
22                                                        United States District Judge

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     ORDER - 1
